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    perhaps other Humboldt County officials regarding various lots in Winnemucca.

    Public records you might release in response to this request will shed light not only on Mr.
    Greer’s broader advocacy for the expansion of prostitution in Humboldt County and his
    behavior towards women, but will also shed light on the extent to which Mr. Greer has
    been honest or dishonest to the federal court in Utah.

    Thank you for your prompt attention to this request. Please let me know if you need any
    further information from me to facilitate your search for records or to evaluate the extent
    of the public interest in their release. On information and belief, Mr. Greer may have used
    russmark@gmail.com or russellgreer27@icloud.com to communicate with you.

    Thank you,

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    Email: MatthewDHardin@protonmail.com

    <Records Request-Greer.pdf>
